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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :

          v.                                           :       CRIMINAL NO. 21-65

JOHN DOUGHERTY                                         :
GREGORY FIOCCA

                                       PROTECTIVE ORDER

        AND NOW, this             day of               2022, upon consideration of the

Government=s Unopposed Motion for a Protective Order with respect to transcripts of recordings

made by a confidential informant, it is hereby ORDERED that the motion is GRANTED.

        It is FURTHER ORDERED, pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure, that defense counsel may make such use of the transcripts that are the subject of this

motion as is necessary to prepare for trial and for use at trial, including the disclosure of the

material to the defendants pursuant to the terms of this order. Any counsel, defendant, or other

person to whom disclosure is made pursuant to this Order may not use the discovery materials

for any purpose other than preparation for or use at trial and may not disclose the discovery

materials or information contained in the discovery materials to any third party, except as

required to prepare for trial or for use at trial.

        It is FURTHER ORDERED that other than the defendants, the materials may not be

disclosed to anyone outside of the law firms of defense counsel. The defendants may inspect and

review the materials in the offices and in the presence of their attorneys, but may not possess

copies of the materials, nor shall they photograph, copy, capture by video, or reproduce the

materials in any way.
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       Defense counsel shall maintain a log of every person to whom disclosure of the discovery

materials is made and shall provide a copy of this order to every such person.


                                              BY THE COURT:



                                              HONORABLE JEFFREY L. SCHMEHL
                                              United States District Court Judge




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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              :

           v.                                         :              CRIMINAL NO. 21-65

JOHN DOUGHERTY                                        :
GREGORY FIOCCA


          UNOPPOSED MOTION OF THE UNITED STATES OF AMERICA
                FOR A PROTECTIVE ORDER PURSUANT TO
             FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1)

       The United States of America, through its attorneys, Jennifer A. Williams, United

States Attorney, and the undersigned attorneys, respectfully requests that the Court enter

a protective order, pursuant to Federal Rule of Criminal Procedure 16(d)(1), limiting the

access and use of specific materials - specifically, transcripts of recordings made by a

confidential informant (CI) - that the government has agreed to produce to defense

counsel, and in support of its motion, avers as follows:

                1.     On April 8, 2022, defendant John Dougherty filed a motion for an

order requiring the government to disclose all reports, memoranda, and other documents

pertaining to a Confidential Informant (CI) who had made a recording that the

government intends to use at trial in this case. Defendant Gregory Fiocca joined in the

motion.

                2.     On May 2, 2022, the Court ruled on various pretrial motions,

except for the defendants’ motion for disclosure described above, stating that:



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                 The Court and the parties have agreed that the best way to handle this
           confidential informant issue at this time is for the Court to review any and
           all information that the informant provided to the Government. The Court
           will determine whether any of that information is relevant, exculpatory, or
           infringes upon Dougherty’s Sixth Amendment Right to Counsel given that
           the information was being provided during a separate criminal case against
           Dougherty and others that this Court is very familiar with. See United States
           v. Dougherty, et al., Eastern District of Pennsylvania, ECF 19-64. Docket
           No. 73, p. 4, n. 2.

               3.      On May 6, 2022, during a conference call with the Court and all

counsel, the government agreed to produce to the defense, under certain conditions,

transcripts of recordings made by the CI. The recordings were previously produced to the

Court. The transcripts will also be provided to the Court.

               4.      The transcripts contain non-public information, references to

individuals not named as defendants, and threats against named and unnamed individuals.

Most importantly, it is possible that dissemination of the materials could place the CI in

danger.

               5.      Absent a protective order, the materials provided to defense counsel could

be used to compromise the physical and economic safety and security of the CI, or of other

individuals identified in the materials.

               6.      To protect the safety of the CI, as well as the privacy interests of persons

who are identified in the materials, as well as the safety and privacy interests of the individuals

who testified or were interviewed by law enforcement agents in connection with this case and

Indictment No. 19-64, the government respectfully requests that the Court enter a protective

order limiting the access and use of the transcripts to the preparation for and use at trial.




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               7.      The proposed order prohibits defense counsel from providing copies of the

transcripts to the defendants, or allowing the defendants to photograph, copy, capture by video,

or reproduce the materials in any way, or review the materials alone. The proposed order also

prohibits counsel from disclosing the transcripts to anyone other than the defendants and

employees of their law firms and requires that defense counsel maintain a log of and provide a

copy of the protective order to every person to whom disclosure of the materials is made.

               8.      Rule 16(d)(1) of the Federal Rules of Criminal Procedure provides that the

Court may Afor good cause, deny, restrict or defer discovery or inspection, or grant other

appropriate relief.@ Fed. R. Crim. P. 16(d)(1). The Supreme Court has noted that courts may use

protective orders to restrict the use of materials produced in discovery:

               [T]he trial court can and should, where appropriate, place a
               defendant and his counsel under enforceable orders against
               unwarranted disclosure of the materials which they may be entitled
               to inspect.

Alderman v. United States, 394 U.S. 165, 185 (1969). Cf. United States v. McDade, 1994 WL

161243, *3-*5 (E.D. Pa. April 15, 1994) (limiting use of criminal deposition Asolely for the

preparation and conduct of the proceeding@ and prohibiting any further disclosure). In United

States v. Smith, 776 F.2d 1104, 1114 (3d Cir. 1985), which involved a motion for press access to

a bill of particulars naming unindicted coconspirators, even though the Court of Appeals

acknowledged that Athe public has a substantial interest in the integrity or lack of integrity of

those who serve them in public office,@ it denied the motion, holding that Athe risk of serious

injury to third parties from disclosure outweighs the interest of the public in access to this limited

segment of the bill of particulars.@


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               9.      The transcripts that are the subject of the instant motion are discovery,

which will be furnished to defense counsel solely to aid their preparation for trial. Although

some of the information in this discovery may be subject to public disclosure if it is subsequently

introduced in court or in pleadings, at this stage of the proceedings, the discovery materials at

issue are not trial evidence; they are investigatory materials for which no right of access exists or

should be created.

               10.     Counsel for the defendants do not object to the entry of the proposed

order.

               WHEREFORE, for the reasons stated above, the government respectfully requests

that the Court enter a protective order, pursuant to Rule 16(d)(1), in the form of the proposed

order attached to this motion.

                                           Respectfully submitted,

                                           JENNIFER ARBITTIER WILLIAMS
                                           United States Attorney

                                           /s/ Frank R. Costello, Jr.
                                           FRANK R. COSTELLO, JR.
                                           JASON GRENELL
                                           Assistant United States Attorneys




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                                 CERTIFICATE OF SERVICE


               This is to certify that I have caused to be delivered by electronic filing to the

Clerk of Court (resulting in an e-mail copy sent to counsel by the Clerk of Court), a true and

correct copy of the within motion, to the following counsel:

Henry Hockeimer
Counsel for Defendant John Dougherty

Rocco Cipparone
Counsel for Defendant Gregory Fiocca

                                              /s/ Frank R. Costello, Jr.
                                              FRANK R. COSTELLO, JR.
                                              Assistant United States Attorney


Date: May 18, 2022




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